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                             UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,

                Plaintiff,                          Case No. 1:16-cr-238-BLW

       v.                                           ORDER ADOPTING REPORT
                                                    AND RECOMMENDATION
YAHQUB BELLO,

                Defendant.



       Before the Court is a Report and Recommendation filed by the United States

Magistrate Judge. (Dkt. 36). On June 14, 2017, Defendant Bello appeared before the

Magistrate Judge to enter a change of plea pursuant to a written plea agreement. The

Magistrate Judge conducted the plea hearing and concluded there is a factual basis for

Defendant’s plea of guilty to the charge contained in Count Four of the Indictment (Dkt.

1), and that it was entered voluntarily and with full knowledge of the consequences. No

objections to the Report and Recommendation have been filed.

       The Court now has reviewed the record, and finds that the requirements of Rule 11

have been met. See United States v. Reyna-Tapia, 328 F.3d 1114 (9th Cir. 2003).

Specifically, the Court finds that the Magistrate Judge adhered to the requirements of

Rule 11(b); that under Rule 11(b)(2), the Defendant’s plea was voluntary and not the

result of force or threats or promises apart from the plea agreement; and that a factual

basis for the plea exists. See id. Accordingly,




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       NOW THEREFORE IT IS HEREBY ORDERED that the Report and

Recommendation (Dkt. 36) shall be, and the same is hereby, ADOPTED as the decision

of the District Court and incorporated fully herein by reference.

       IT IS FURTHER ORDERED that the Defendant’s plea of guilty to the crime

charged in Count Four of the Indictment (Dkt. 1) shall be, and the same is hereby,

ACCEPTED by the Court as a knowing and voluntary plea supported by an independent

basis in fact containing each of the essential elements of the offense.

       IT IS FURTHER ORDERED that Defendant Yahqub Bello is found to be

GUILTY as to the applicable crime charged in Count Four of the Indictment. (Dkt 1).

                                   DATED: July 3, 2017



                                   B. LYNN WINMILL
                                   Chief U.S. District Court Judge




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